 4:14-cr-03060-JMG-CRZ               Doc # 23   Filed: 07/01/14   Page 1 of 1 - Page ID # 50




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                  4:14CR3060

      vs.
                                                          MEMORANDUM AND ORDER
DIANE RENEE HOLBROOK,

                       Defendant.


       Defendant Holbrook has moved to continue the pretrial motion deadline, (filing no. 22),
because the defendant and defense counsel need additional time to fully review the discovery
received before deciding if pretrial motions should be filed.       The motion to continue is
unopposed. Based on the showing set forth in the motion, the court finds the motion should be
granted. Accordingly,

       IT IS ORDERED:

       1)     Defendant Holbrook’s motion to continue, (filing no. 22), is granted.

       2)     As to both defendants, pretrial motions and briefs shall be filed on or before July
              21, 2014.

       3)     As to both defendants, the status conference previously scheduled for July 22,
              2014 is continued to August 5, 2014 at 9:00 a.m.

       4)     The ends of justice served by granting the motion to continue outweigh the
              interests of the public and the defendants in a speedy trial. Accordingly, as to
              both defendants, the additional time arising as a result of the granting of the
              motion, the time between today’s date and July 21, 2014, shall be deemed
              excludable time in any computation of time under the requirements of the Speedy
              Trial Act, because despite counsel’s due diligence, additional time is needed to
              adequately prepare this case for trial and failing to grant additional time might
              result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) & (h)(7).

       July 1, 2014.
                                                     BY THE COURT:

                                                     s/ Cheryl R. Zwart
                                                     United States Magistrate Judge
